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Gen Con LLC

Reconciliation Summary
1112 - Eastside Bank - Checking, Period Ending 08/31/2008

Beginning Balance
Cleared Transactions
Checks and Payments - 130 items
Deposits and Credits - 12 items

Total Cleared Transactions

Cleared Balance

Uncleared Transactions
Checks and Payments - 158 items
Deposits and Credits - 6 items

Total Uncleared Transactions

Register Balance as of 08/31/2008 ©

New Transactions .
Checks and Payments - 24 items
Deposits and Credits - 3 items

Total New Transactions

Ending Balance |

Aug 31, 08

10,085.65

(383,457.77)
688,042.05

304,584.28

314,669.93

(232,206.59)
69,369.91

(162,836.68)

151,833.25

(50,725.92)
300,000.00

249,274.08

401,107.33

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Reconciliation Detail

Gen Con LLC

1112 - Eastside Bank - Checking, Period Ending 08/31/2008

Type Date Num Name Clr Amount Balance
Beginning Balance 10,085.65
Cleared Transactions
Checks and Payments - 130 items
Bill Pmt -Check 5/15/2008 20302 Brown, Anne xX (650.00) (650.00)
Bill Pmt -Check 7/11/2008 20462 — Wright, Jeremy x (560.00) (1,210.00)
Bill Pmt -Check 7/17/2008 20485 Wright, Jeremy X (80.00) (1,290.00)
Bill Pmt -Check 7/24/2008 20492 Lazer Trends xX (1,363.95) (2,653.95)
Bill Pmt -Check 7/24/2008 20494 Niecikowski, David Xx (500.00) (3,153.95)
Bill Pmt -Check 7/24/2008 20497 Staples X (91.00) (3,244.95)
Bill Pmt -Check 7/24/2008 20487 Culver, Megan (AV) xX (80:00) (3,324.95)
Bill Pmt -Check 7/31/2008 20618 = Rundell, Cathy Xx (16,353.75) (19,678.70)
Bill Pmt -Check 7/31/2008 20504 Centerplate X (8,689.67) (28,368.37)
Bill Pmt -Check 7/31/2008 20512 Indiana Symphony ... X (6,673.00) (35,041.37)
Bill Pmt -Check 7/31/2008 20514 Leschi Partners LLP x _(6,392:00) (41,433.37)
Bill Pmt -Check 7/31/2008 20508 Eutsler, Ann xX (6,000.00) (47 433.37)
Bill Pmt -Check 7/31/2008 20511 Hidden City Games X (5,120.24) (52,553.61)
Bill Pmt -Check 7/31/2008 20517 Painter, Mark xX (5,000.00) (57,553.61)
Bill Pmt -Check 7/31/2008 20507 ESP Printing x (2,237.77) (59,791.38)
Bill Pmt -Check 7131/2008 20521 UPS - United Parce... x (2,145.41) (81,936.79)
Bill Pmt -Check 7/31/2008 20502 Achberger, Rick X (1,875.00) (63,811.79)
Bill Pmt -Check 7/31/2008 20503 American Metro x (822.00) (64,633.79)
Bill Pmt -Check 7/31/2008 20509 FedEx/Kinkos X (784.80) (65,418.59)
Bill Pmt -Check 7/31/2008 20515 Mattox, LeMar xX (735.00) (66,153.59)
Bill Pmt -Check 7/31/2008 20506 Department of Labo... X (575.95) (66,729.54)
Bill Pmt -Check 7/31/2008 20510 Fisher, Barbara x (562,50) (67,292.04)
Bill Pmt «Check 7/31/2008 20520 Swartout, Adrian x (400.99) (67,693.03)
Bill Pmt -Check 7/31/2008 20505 Davis Wright Trema... X (175.00) (67,868.03)
Bill Pmt -Check 7/31/2008 20516 McBrine Marian X (150.00) (68,018.03)
Bill Pmt -Check 7/31/2008 20519 Staples xX (149.13) (68,167.16)
Bill Pmt -Check 7/31/2008 20513 LeGault, Jeannette ... Xx (46.72) (68,213.88)
Bill Pmt -Check 8/7/2008 20537 ESG Security, inc x (23,992.50) (92,206.38)
- Bill Pmt -Check 8/7/2008 20562 Reaction Audio Vis... xX (21,090.38) (113,296.76)
Bill Pmt -Check 8/7/2008 20553 LGC Associates, LLC. X (20,797.70) (134,094.46)
Bill Pmt -Check 8/7/2008 . 20575 The Indianapolis Star x (19,437.00) (153,531.46)
Bill Pmt -Check 8/7/2008 20546 Hidden City Games X (7,477.87) (161,009.33)
Bill Pmt -Check 8/7/2008 20547 Infiniti Wireless Sol... Xx (6,676.80) (167,686.13)
Bill Pmt -Check 8/7/2008 20545 Heinzle, Greg X (3,560:00) (171,246.13)
Bill Pmt -Check 8/7/2008 20573 Wealth and Tax Ad... x (3,500.00) (174,746.13)
Bill Pmt -Check 8/7/2008 20570 UPS - United Parce... xX (3,400.63) (178,146.76)
Bill Pmt -Check 8/7/2008 20564 Seyler, Owen xX (3,060.00) (181,206.76)
Bill Pmt -Check 8/7/2008 20554 Mattox, LeMar xX. (2,010.00) (183,216.76)
Bill Pmt -Check 8/7/2008 20525 Cho, Nail Xx (1,435.00) (184,651.76)
Bill Pmt -Check 8/7/2008 20540 Ferguson, Peter _X (1,295.00) (185,946.76)
Bill Pmt -Check 8/7/2008 20560 Parks, Michael x (1,295.00) (187,241.76)
Bill Pmt -Check 8/7/2008 ~ 20548 Johnson Safe Com... Xx (1,257.25) (188,499.01)
Bill Pmt -Check 8/7/2008 20536 Dominguez, Maureen X (1,230.00) (189,729.01)
Bill Pmt -Check 8/7/2008 20523 Abernathy; Patrick X (1,155.00) (190,884.01)
Bill Prt -Check 8/7/2008 20533 Del! Financial Servi... x (1,027.47) (191,911.48)
Bill Pmt -Check 8/7/2008 20542 GGO, LLG xX (1,000.00) (192,911.48)
Bill Pmt -Check 8/7/2008 20526 Clardy, Alesia xX (1,000.00) (193,911.48)
Bili Pmt -Check 8/7/2008 20563 Rodriguez, Dina ~X (990.00) (194,901.48)
Bill Pmt -Check 8/7/2008 20557 Morales, Samantha X (990.00) (195,891.48)
Bill Pmt -Check 8/7/2008 20556 Money, Carlena xX - (750.00) (196,641.48)
Bill Pmt -Check 8/7/2008 20565 Sides, William x (760.00) (197,391.48)
Bill Pmt -Check 8/7/2008 20569 Tatum, Scott xX (750.00) (198,141.48)
Bill Pmt -Check 8/7/2008 20534 Diaz, Lorena xX (750.00) (198,891.48)
Bill Pmt -Check 8/7/2008 20527 Cranfill, Crystal X (780.00) (199,641.48)
Bill Pmt -Check 8/7/2008 20531 Dare, Jeannette x (750.00) (200,391.48)
Bill Pmt -Check 8/7/2008 20550 Lee, Tracey x (660.00) (201,051.48)
Bill Pmt -Check 8/7/2008 20558 Mullen, Aleta Xx (650.00) (201,704.48)
Bill Pmt -Check 8/7/2008 20551 LeGault, Jeannette ... Xx (649.69) (202,351.17)
Bill Pmt -Check 8/7/2008 20528 Crawford, Todd Xx (625.00) (202,976.17)
Bill Pmt -Check 8/7/2008 20544 Guder, Derek X (540.00) (203,516.17)
Bill Pmt -Check 8/7/2008 20541 Fong, Bernice x (640.00) (204,056.17)
Bill Pmt -Check 8/7/2008 20538 Eutsler, Ann xX (&40.00) (204,596.17)
Bill Pmt -Check 8/7/2008 20543 Gott, Kent x (540.00) (205,136.17)
Bill Pmt -Check 8/7/2008 20539 Fantagraphics Books xX (500.00) (205,636.17)
Bill Pmt -Check 8/7/2008 20567 Staples x (494.67) (206,130.84)

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Reconciliation Detail
1112 - Eastside Bank - Checking, Period Ending 08/31/2008

Type Date Num Name
Bill Pmt -Check 8/7/2008 20524 Adkison, Peter
Bill Pmt -Check 8/7/2008 20530 Culver, Megan (AV)
Bill Pmt -Check 8/7/2008 20568 Swartout, Adrian
Bill Pmt -Check 8/7/2008 20552 Leung, Tina
Bill Pmt -Check 8/7/2008 20535 Digital Print Services
Bill Pmt -Check 8/7/2008 20571 Verizon Wireless
Bill Pmt -Check 8/8/2008 Cashier Westin Indianapolis...
Check 8/8/2008 ADP 16 ADP
Check 8/8/2008 ADP 16 ADP
Check 8/8/2008 ADP 16 . ADP
Check 8/8/2008 ADP 16 ADP
Check 8/8/2008 ADP 16 ADP
Check 8/8/2008 ADP 16 ADP
Check 8/8/2008 ADP 16 ADP
Check 8/8/2008 ADP 16 ADP
Check . 8/8/2008 ADP 16 ADP
Bill Pmt -Check 8/8/2008 20383 Araucto, Rachel
Bill Pmt -Check * 8/8/2008 20336 Love, Madeline
Check 8/8/2008 08Me... Gen Con LLC
Check 8/8/2008 ADP 16 ADP
Check 8/8/2008 ADP 16 ADP
Check 8/14/2008 20384 Smart City Network...
Check 8/17/2008 20603 True Adventures, Lid
Check 8/17/2008 20602 Hochman, Alan
Check 8/17/2008 20318 Smart City Network...
Check 8/17/2008 20581 Dresch, David
Check 8/17/2008 20590 Norwood, Judith
Check 8/17/2008 20583 Fontaine, Mathieu
Check 8/17/2008 20522 Bland, Len
Check 8/17/2008 20601 Cross, Chimere
Check 8/17/2008 20599 ~—- Reimer, Marike
Check 8/17/2008 20598 Wilhelm, Jeff
Check 8/17/2008 20591 Pauwels, David
Check 8/17/2008 20593 Schadle, Thomas
Check 8/17/2008 20453 Carey, Jeff
Check 8/17/2008 20584 Foerster, Anne
Check 8/17/2008 20594 Schubert, Derek
Check 8/17/2008 20588 Mason, Tom
Check 8/17/2008 20501 Bernhardt, Jeremy
Check 8/17/2008 20586 Jakusovszky, Laszlo
Check 8/17/2008 20592 Code Monkey Publi...
Check 8/17/2008 20500 Bender, Rhonda
Check 8/17/2008 20401 Walker, Linda
Check 8/17/2008 20576 Warfield, Erin
Check 8/17/2008 20423 Scheirman, Alison
Bill Pmt -Check 8/21/2008 20612 Seyler, Owen
Bill Pmt -Check 8/21/2008 20610 Mattox, LeMar
Bill Pmt -Check 8/21/2008 20604 Beth and Co
Bill Pmt -Check 8/21/2008 20614 Swartout, Adrian
Bill Pmt -Check 8/21/2008 20605 Crawn Moving
Bill Pmt -Check 8/21/2008 20609 Gott, Kent
Check 8/22/2008 ADP 17 ADP
Check 8/22/2008 ADP 17 ADP
Check 8/22/2008 ADP 17 ADP
Check 8/22/2008 ADP 17 ADP
Check 8/22/2008 ADP 17 ADP
Check 8/22/2008 ADP 17. ADP
Check 8/22/2008 ADP 17 ADP
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Check 8/22/2008 ADP 17 ADP
Check 8/22/2008 ADP 17 ADP
Check 8/22/2008 ADP 17 ADP
Check 8/22/2008 ADP 17 ADP
Check 8/22/2008 ADP 17 ADP
Check 8/23/2008 20596 Vecchione, Phil

Total Checks and Payments

Deposits and Credits - 12 items

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Cir Amount Balance
x (480.00) (206,610.84)
x (480.00) (207,090.84)
xX (480.00) » (207,570.84)
x (480.00) (208,050.84)
xX (169.10) (208,219.94)
XxX (66.06) (208,286.00)
x (11,397.00) (219,683.00)
x (6,970.88) (226,653.88)
x (4,273.64) (230,927.52)
xX (3,260.30) (234,187.82)
x (1,626.48) (235,814.30)
x (1,476.87) (237,291.17)
X (1,323.63) (238,614.80)
X (1,234.68) (239,849.48)
x (1,141.52) (240,991.00)
xX (1,059.64) (242,050.64)
Xx (510.00) (242,560.64)
xX (480.00) (243,040.64)
xX (343.00) (243,383.64)
Xx (67.39) (243,451.03)
xX (62.00) (243,513.03)
x (17,240.00) (260,753.03)
x (35,578.00) (296,331.03)
Xx (30,000.00) (326,331.03)
Xx (17,976.00) (344,307.03)
xX (1,298:00) (345,605.03)
X (1,006.00) (346,611.03)
Xx (924.00) (347,535.03)
x (724,00) (348,259.03)
xX: (670.50) (348,929.53)
X (640,00) (349,569.53)
xX (612.00) (350,181.53)
xX (554.00) (350,735.53)
x (456.00) (351,191.53)
x (380.00) (351,571.53)
x (344.00) (351,915.53)
x (294.00) (352,209.53)
Xx (224.00) (352,433.53)
X (220.00) (352,653.53)
X (196.00) (352,849.53)
x (188.00) (353,037.53)
x (168.00) (353,205.53)
x (84.00) (353,289.53)
x (72.00) (353,361.53)
X (42.00) (353,403.53)
x (4,140.00) (357,543.53)
x (735.00) (358,278.53)
xX (83.85) - (358,362.38)
xX (80:00) (358,442.38)
Xx (56.70) (358,499.08)
x (47.63) (358,546.71)
Xx (7,598.85) (366,145.56)
xX . (4,297.96) (370,443.52)
x (3,260.31) (373,703.83)
xX (1,626.48) (375,330.31)
x (1,476.87) (376,807.18)
xX (1,395.06) (378,202.24)
x (1,323.63) (379,525.87)
X (1,234.67) (380,760.54)
x (1,141,53) (381,902.07)
x (1,059.64) (382,961.71)
xX (200.00) (383,161.71)
xX (67.39) (383,229.10)
xX (60.67) (383,289.77)
xX - (168.00) (383,457.77)
(383,457.77) (383,457.77)

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Reconciliation Detail

Gen Con LLC

1112 - Eastside Bank - Checking, Period Ending 08/31/2008

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Type Date Num Name Cir
Transfer 8/2/2008 xX
Deposit 8/4/2008 Xx
Deposit 8/6/2008 X
Bill Pmt -Check 8/7/2008 20529 Creonte Jr., William X
Bill Pmt -Check 8/7/2008 20549 Jones, Cliff xX
Check 8/8/2008 ADP 16 ADP X
Transfer 8/8/2008 x
Check 8/17/2008 20579 Carey International ... x
Deposit 8/21/2008 Xx
Deposit 8/21/2008 X
Check 8/22/2008 ADP 17 ADP xX
Transfer 8/23/2008 xX

Total Deposits and Credits
Total Cleared Transactions
Cleared Balance
Uncleared Transactions
Checks and Payments - 158 items

Bill Prt -Check 6/26/2008 20407 Department of Hom...
Bill Pmt -Check 6/26/2008 20405 Cooke, Andrew.

Bill Pmt -Check 7/24/2008: 20499 Thomas Cherry & A...
Bill Pmt -Check 8/7/2008 20574 Wong, Bikwan

Bill Pmt -Check 8/7/2008 . 20532 Dare, Nicole

Bill Pmt -Check 8/7/2008 20559 Murry, Anne

Bill Pmt -Check 8/7/2008 20572 Wachowski, Susan
Bill Pmt -Check 8/7/2008 20555 McBrine Marian

Bill Pmt -Check 8/7/2008 20566 Sinterniklaas, Michael
Bill Pmt -Check 8/7/2008 20561 Rabe, Jean

Check 8/8/2008 ADP 16 ADP

Check 8/17/2008 20578 Brehm, Amy

Check 8/17/2008 20348 Arrington, Todd
Check 8/17/2008 20587 Lanier, Zach

Check 8/17/2008 20580 Carrasco

Check 8/17/2008 20402 Meyer, Noel

Check 8/17/2008 20585 Gungor, Mengu
Check 8/17/2008 20597 Wachowdki, Sue
Check 8/17/2008 20582 Gonzalez, Katie
Check 8/17/2008 20589 Mickelson, George
Bill Pmt -Check 8/21/2008 20611 Name Badge Produ...
Bill Pmt -Check 8/21/2008 20607 GCO, LLC

Bill Pmt -Check 8/21/2008 20613 Swank Motion Pictu...
Bill Pmt -Check 8/21/2008 = 20608 Gold Cleaning

Bill Pmt -Check 8/21/2008 20606 Culver, Megan (AV) ~
Check 8/22/2008 ADP 17 ADP

Check 8/22/2008 ADP 17 ADP

Check 8/24/2008 20616 Fisher House

Check 8/27/2008 Needt... Reynolds, Wayne
Check 8/27/2008 20639 Guay, Rebecca
Check 8/27/2008 20619 Argyle, Steve .
Check 8/27/2008 20659 Mather, Theresa
Check 8/27/2008 20637 Gallegos, Randy
Check 8/27/2008 20677 Scott, Dan

Check 8/27/2008 20693 Stokes, Anne

Check 8/27/2008 20672 Prescott, Steve (AC) .
Check 8/27/2008 20620 Baker, Andrew
Check 8/27/2008 Needt... Horsley, Ralph
Check 8/27/2008 20648 Kaufmann, John
Check 8/27/2008 20644 Hopp, Andy

Check 8/27/2008 20691 Van Camp, Susan
Check 8/27/2008 20670 Poole, Mark

Check 8/27/2008 20692 Viesca, Alain

Check 8/27/2008 20686 Urbach, Charles
Check 8/27/2008 20626 Carlisle, Jeffery
Check 8/27/2008 20622 Belledin, Steven
Check 8/27/2008 20663 Mimura, Raven
Check 8/27/2008 20701 Marks, C.S. (Chris) -°

Amount Balance
150,000.00 150,000.00
359.67 . 150,359.67
3,855.98 154,215.65
0.00 154,215.65
0.00 154,215.65
0.00 164,216.65
250,000.00 404,215.65
0.00 404,215.65
13.90 404,229.55
33,812.50 438,042.05
0.00 438,042.05
250,000.00 688,042.05
688,042.05 688,042.05
304,584.28 304,584.28
304,584.28 314,669.93
(99.00) (99.00)
(32.30) (131.30)
(336.08) (467.36)
(1,155.00) (1,622.36)
(750.00) (2,372.36)
(750.00) (3,122.36)
(500.00) (3,622.36)
(500.00) (4,122.36)
(500.00) (4,622.36)
(200.00) (4,822.36)
(1,250.98) (6,073.34)
-- (830.00) (6,903.34)
(448.00) (7,351.34)
(240.00) (7,591.34)
(180.00) (7,771.34)
(156.00) (7,927.34)
(98:00) (8,025.34)
(96.00) (8,121.34)
(88.00) (8,209.34)
(48.00) (8,257.34)
(11,843.36) . (20,100.70)
(500.00) (20,600.70)
(408.38) (21,009.08)
(95.00) (21,104.08)
(80.00) (21,184.08)
(1,250.98) (22,435.06)
(635.64) (23,070.70)
(1,865.65) (24,936.35)
(9,054.00) (33,990.35)
(6,015.00) (40,005.35)
(3,846.60) (43,851.95)
(3,555.00) (47,406.95)
(3,059.10) (50,466.05)
(2,990.70) (53,456.75)
(2,734.03) (56,190.78)
(2,496.60) (58,687.38)
(2,391.34) (61,078.72)
(2,209.50) (63,288.22)
(1,955.70) (65,243.92)
(1,926:00) (67,169.92)
(1,914.30) (69,084.22)
(1,872.00) (70,956.22)
(1,841.44) (72,797.66)
(1,831.50) (74,629.16)
(1,827.00) (76,456.16)
(1,793.70) (78,249.86)
(1,712.70) (79,962.56)
(1,707.30)

(81,669.86)

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Reconciliation Detail

Gen Con LLC

1112 - Eastside Bank - Checking, Period Ending 08/31/2008

Type Date Num _ Name Clr Amount Balance
Check 8/27/2008 20632 Easley, Jeff - (1,612.12) (83,281.98)
Check 8/27/2008 20654 Rich Larson (1,604.25) (84,886.23)
Check 8/27/2008 20676 Schiller, Devon (1,530.00) (86,416.23)
Check 8/27/2008 20660 Miller, Kurt . (1,466.10) (87,882.33)
Check 8/27/2008 20623 Bielaczyc, Michael - (1,422.00) (89,304.33)
Check 8/27/2008 20694 Fantasist Enterprise... (1,379.70) (90,684.03)
Check 8/27/2008 20690 Yast, Tamie (1,361.70) (92,045.73)
Check 8/27/2008 20687 Vohwinkel, Franz (1,342.80) (93,388.53)
Check 8/27/2008 20655 Lee, April (1,342.80) (94,731.33)
Check 8/27/2008 20649 Kendzie, Robert (1,233.90) (95,965.23)
Check . 8/27/2008 20634 Engle, Jason (1,174.50) (97,139.73)
Check 8/27/2008 Tobe... William Howliston (1,150.85) (98,290.58)
Check 8/27/2008 20688 Wong, David K. (1,125:90) (99,416.48)
Check 8/27/2008 20652 LaForce, David (1,113.30) (100,529.78)
Check 8/27/2008 20668 Persampieri, Connie (1,049.79) (101,579.57)
Check 8/27/2008 20635 Fiegenschuh, Emily (1,046.70) (102,626.27)
Check 8/27/2008 20658 Lukacs, Chuck (1,039.50) (103,665.77)
Check 8/27/2008 _° 20700 Chowdhury, Tracy (1,002.46) (104,668.23)
Check 8/27/2008 20675 —_— Roberson, Marti S. (981:00) (105,649.23)
‘Check 8/27/2008 20631 Dyson, Alan (938.70) (106,587.93)
Check 8/27/2008 20651 Kreiter, Heather (AC) (936.90) (107,524.83)
Check 8/27/2008 20697 —~ Moore, Shane (910.84) (108,435.67)
Check 8/27/2008 20664 Morrison, Stanley (850.50) (109,286.17)
. Check 8/27/2008 20653 Lampi, Ruth (849,60) (110,135.77)
Check 8/27/2008 20636 Frarry, Sarah (835.20) (110,970.97)
Check 8/27/2008 20689 Wocdside, Brent (803.70) (111,774.67)
Check 8/27/2008 20695 Birtolo, Dylan (775.21) (112,549.88)
Check 8/27/2008 20640 Hardy, Kathieen (AC) (764.10) (113,343.98)
Check 8/27/2008 20621 Barrett, Brent (738.00) | (114,051.98)
Check 8/27/2008 20643 Hodgson, William (729.00) (114,780.98)
Check 8/27/2008 20683 ~ Stolpin, William (708.50) (115,487.48)
Check 8/27/2008 _ 20627 Cole, James (703.80) (116,191.28)
Check 8/27/2008 Needt... Klesen, Sophie (AV) (697.50) (116,888.78)
Check 8/27/2008 20618 Ashbaugh, Amy (661.50) (117,550.28)
Check 8/27/2008 . 20650 _—_ Kovacs, Douglas (634.50) (118,184.78)
Check 8/27/2008 20633 Esh, John (568:80) (118,753.58)
Check 8/27/2008 20641 Higgins, Don (558.00) (119,311.58)
Check 8/27/2008 20646 James, Scott (513,00) (119,824.58)
Check 8/27/2008 20625 Burris, Lydia (499.50) (120,324.08)
Check 8/27/2008 20667 Pelick, Laura (468.00) (120,792.08)
Check 8/27/2008 20629 Denmark, Thomas (450.90) (121,242.98)
Check 8/27/2008 20630 Dollar, John (427.50) (121,670.48)
Check 8/27/2008 20638 Gilberts, Steven (398.70) (122,069.18)
Check 8/27/2008 20679 Seaman, Chris (AC) (396.00) (122,465.18)
Check 8/27/2008 20678 Scott, Thom (AC) (382.50) (122,847.68)
Check 8/27/2008 20698 Freeland, Danielle R (369.60) (123,217.28)
Check 8/27/2008 20680 Sprenz, Julie (337,50) (123,554.78)
Check 8/27/2008 20674 Richmond, Whitney (333.90) (123,888.68)
Check 8/27/2008 20656 Libbey, Rhonda * (310.50) (124,199.18)
Check 8/27/2008 20661 Mohrbacher, Peter (270.00) (124,469.18)
Check 8/27/2008 20696 Degrandis, James (... (232.74) (124,701.92)
Check 8/27/2008 20624 Borowiecka, Anna (221.40) (124,923.32)
Check 8/27/2008 20642 Himmeiman, Jeff (215.10) (125,138.42)
Check 8/27/2008 20673 Pritchard, Christopher (211.50) (125,349.92)
Check 8/27/2008 20684 Tames, Matt (202.50) (125,552.42)
Check 8/27/2008 20702 Dehay, Katy (184.50) (125,736.92)
Check 8/27/2008 20671 Prescott, Jeff (180.00) (125,916.92)
Check 8/27/2008 20669 Pierson, Patrick (180.00) (126,096.92)
Check 8/27/2008 20685 Thompson, Ben (149.40) (126,246.32)
Check 8/27/2008 20647 Jaworski, Eugene (126.00) (126,372.32)
Check 8/27/2008 20617 Adams, Patrick (107.10) - (126,479.42)
Check 8/27/2008 20665 Morrow, Carla * (94.50) (126,573.92)
Check 8/27/2008 20645 —_ Hunter, Andrew (81.90) (126,655.82)
Check 8/27/2008 20681 Stanko, John (76.50) (126,732.32)
Check 8/27/2008 20682 Steele(Smith), Tony (72.00) (126,804.32)
Check 8/27/2008 20628 David, Joshua (63.00) (126,867.32)
Check 8/27/2008 20657 Loboyko, Pat (34.20) (126,901.52)
Check 8/27/2008 20703 Petersen, Jeff (27.00) (126,928.52)

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Gen Con LLC

Reconciliation Detail
1112 - Eastside Bank - Checking, Period Ending 08/31/2008

Type Date Num Name Clr Amount Balance

Check 8/27/2008 20699 Bair, Christoper (22.50) (126,951.02)
Check 8/27/2008 20666 Pavelec, Jim (AC) (18.00) (126,969.02)
Check 8/27/2008 20662 Neal, Travis (4.50) (126,973.52)
Bill Pmt -Check 8/28/2008 20731 Quebecor World (59,879.21) (186,852.73)
Bill Pmt -Check 8/28/2008 20728 Noble of indiana (12,924.81) (199,777.54) -
Bill Pmt -Check 8/28/2008 20722 Leschi Partners LLP (6,392.00) (206,169.54)
Bill Pmt -Check 8/28/2008 20733 Regence Blue Sheild (4,726.54) _ (210,896.08)
Bill Pmt -Check 8/28/2008 20719 Hidden City Games (3,700.00) (214,596.08)
Bill Pmt -Check 8/28/2008 20730 Pitney Bowes Credi... (3,564.28) (218,160.36)
Billi Pmt -Check 8/28/2008 20717 Heinzle, Greg (2,560.00) (220,720.36)
Bill Pmt -Check 8/28/2008 20709 Clear Channel Outd... (2,000.00) (222,720.36)
Bill Pmt -Check 8/28/2008 20739 Vovici Corporation (1,795.00) (224,515.36)
Bill Pmt -Check 8/28/2008 20710 Data Protection Ser... (1,500.00) (226,015.36)
Bill Pmt -Check 8/28/2008 20737 UPS - United Parce... (918.85) (226,934.21)
Bill Pmt -Check 8/28/2008 20725 Mattox, LeMar (735.00) (227,669.21)
Bill Pmt -Check 8/28/2008 20713 _—- Fisher, Barbara (562.50) (228,231.71)
Bill Pmt -Check 8/28/2008 20712 FedEx (453.34) (228,685.05)
Bill Pmt -Check 8/28/2008 20707 Brewer, Tanya - (404.00) (229,089.05)
Bill Pmt -Check 8/28/2008 20715: Gorilla Nation (372.27) (229,461.32)
Check 8/28/2008 20705 Sherman, Howard (311.67) (229,772.99)
Check . 8/28/2008 20704 Edwards, Duryea (226.80) (229,999.79)
Bill Pmt -Check 8/28/2008 20716 Guder, Derek (204.54) (230,204.33)
Bill Pmt -Check 8/28/2008 20742 Zapata, Jose (200.00) (230,404.33)
Bill Pmt -Check 8/28/2008 20735 Schoen, Scott (200.00) (230,604.33)
Bill Pmt -Check 8/28/2008 20706 Bain, Chris (AV) (161.24) (230,765.57)
Bill Pmt -Check 8/28/2008 20726 McBrine Marian (150.00) (230,915.57)
Bill Pmt -Check © 8/28/2008 20718 Hicks, Justin (150.00) (231,065.57)
Bill Pmt -Check 8/28/2008 20723 Maile Jr., Lee (143.22) (231,208.79)
Bill Pmt -Check 8/28/2008 20738 Veit, Will - (75.00) (231,283.79)
Bill Pmt -Check 8/28/2008 20736 Tallent, Wendy (75.00) (231,358.79)
Bill Pmt -Gheck 8/28/2008 20734 Sampson, William (75.00) (231,433.79)
Bill Pmt -Check 8/28/2008 20732 Reames, Adam (75.00) (231,508.79)
Bill Pmt -Check 8/28/2008 20727 McCormick, Nathaniel (75.00) (231,583.79)
Bill Pmt -Check 8/28/2008 20724 Mascher, Sarah - (75.00) (231,658.79)
Bill Pmt -Check 8/28/2008 20720 Hoit, Franki (75:00) (231,733.79)
Bill Pmt -Check 8/28/2008 20714 Flanigan, Tim (75.00) (231,808.79)
Bill Pmt -Check 8/28/2008 20711 Durant, Paul - (75.00) (231,883.79)
Bill Pmt -Check 8/28/2008 20708 Bryson, Tristan (75.00) (231,958.79)
Bill Pmt -Check 8/28/2008 20740 Wellman, Christopher (75.00) (232,033.79)
Bill Pmt -Check 8/28/2008 20741 Woodings, Michael (75.00) (232,108.79)
Bill Pmt -Check 8/28/2008 20721 Klein, Ben (75.00) (232,183.79)
Bill Pmt'-Check 8/28/2008 20729 Oliver, D.R. (22.80) (232,206.59)

Total Checks and Payments (232,206.59) (232,206.59)

Deposits and Credits - 6 items
Check . 8/22/2008 Deposit Registration System 563,00 563.00
Deposit 8/29/2008 2,274.34 2,837.34
Deposit 8/30/2008 79.50 2,916.84
Deposit 8/30/2008 1,000.00 3,916.84
Deposit 8/30/2008 4,279.00 8,195.84
Deposit 8/30/2008 61,174.07 69,369.91

Total Deposits and Credits 69,369.91 69,369.91

Total Uncleared Transactions (162,836.68) (162,836.68)
Register Balance as of 08/31/2008 141,747.60 161,833.25
New Transactions :

Checks and Payments - 24 items .
Bill Pmt -Check 9/4/2008 20745 Bank of America Cr... (28,054.71) (28,054.71)
Bill Prt -Check 9/4/2008 20752 Kirby Communicaiti... (7,886.55) (35,941.26)
Bill Pmt -Check 9/4/2008 20763 Seyler, Owen (3,390.00) (39,331.26)
Bill Pmt -Check 9/4/2008 20759 Premium Financing ... (2,290.45) (41,621.71)
Bill Pmt -Check 9/4/2008 20764 Sharp.Business Sy... (1,533.06) (43,154.77)
Bill Pmt -Check 9/4/2008 20748 Capital One (1,360.07) (44,514.84)
Bill Pmt -Check 9/4/2008 20749 Dell Financial Seni... (1,084.77) (45,599.61)
Bill Pmt -Check 9/4/2008 20767 Wealth and Tax Ad... (1,000.00) (46,599.61)
Bill Pmt -Check 9/4/2008 20756 Mattox, LeMar (47,334.61)

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(735.00)

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Reconciliation Detail
1112 - Eastside Bank - Checking, Period Ending 08/31/2008

Gen Con LLC

Type Date Num Name Cir
Bill Pmt -Check 9/4/2008 - 20757 McBrine Marian
Bill Pmt -Check 9/4/2008 20751 GCO, LLC
Bill Pmt -Check 9/4/2008 20750 FedEx
Bili Pmt -Check 9/4/2008 20761 Roberts, Harvey
Bill Pmt -Check 9/4/2008 20765 Tate, Walker
Bill Pmt -Check 9/4/2008 20762 Schoen, Mary Beth
Bill Pmt -Check 9/4/2008 20747 ~=— Brehm, Amy
Bill Pmt -Check 9/4/2008 20760 Reimer, Marike
Bill Pmt -Check 9/4/2008 20754 Lee, Michael
Bill Pmt -Check 9/4/2008 20758 Northwood, Judith
Bill Pmt -Check 9/4/2008 20746 Beth and Co
~ Bill Pmt -Check 9/4/2008 20768 Wisdom, Josh
Bill Pmt -Check 9/4/2008 20753 Kirk, Wes
Bill Pmt -Check 9/4/2008 20755 Marsh, Tyler
Bill Pmt -Check 9/4/2008 20766 Verizon Wireless

Total Checks and Payments

Deposits and Credits - 3 items

Transfer
Transfer
Transfer

Total Deposits and Credits

9/1/2008
9/3/2008
9/7/2008

Total New Transactions

Ending Balance

Amount Balance
(720:00) (48,054.61)
(500.00) (48,554.61)
(441.36) (48,995.97)
(300.00) (49,295.97)
(215.00) (49,510.97)
(200.00) (49,710.97)
(193.72) (49,904.69)
(176.32) (50,081.01)
(160.00) (50,241.01)
(110.00) (50,351,01)

(83.85) (50,434.86)
(75.00) (50,509.86)
(75.00) (50,584.86)
(75.00) (50,659.86)
(66.06) (50,725.92)
(50,725.92) (60,725.92)
100,000.00 100,000.00
100,000.00 200,000.00
400,000.00 300,000.00
"300,000.00 300,000.00
249,274.08 249,274.08
391,021.68 401,107.33

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EASTSIDE

E C 'B COMM E RCIA L Bast teow Bank ACCOUNT NUMBER
Ve, O.5.
BANK 110 Bolle lie WA 98008-6418 W912
Gen Con LLC evevue,
: : 425.373.0400
aoe eake W ASS Bios Suite 100 www.eastsidecommercialbank.com
Mail Aug 31, 2008
Pg 1 of 3
08/01/2008 Beginning Balance Bus Chk 10,085.65
7 Deposits and Other Additions + 688 ,042.05
139 Checks and Other Deductions - 383,457.77
08/31/2008 Ending Balance 31 Days in Statement Period 314,669.93
Deposits and Other additions to your account
08/04/2008 Wire Trf Deposit 150,000.00
Orig: Gen Con LLC
08/08/2008 Deposit 3,855.98
08/08/2008 Deposit 359.67
08/12/2008 Wire Trf Deposit 250,000.00
Orig: Gen Con LLC
08/25/2008 Deposit 33,812.50
08/25/2008 Deposit 13.90
08/25/2008 Wire Tr£ Deposit 250,000.00
Orig: Gen Con LLC
sooo Checks listed in numerical order; (*) indicates gap in sequence —------
Check Date Amount Check Date Amount
08/08; IT, 397-7007" 8 08/11 46.72
08/08) op 4. 08/06 6,392.00
20302 08/14 08/01 735.00
20318* 08/20: 08/11 150.00
20336* 08/11; 08/06 5,000.00
20383* 08/26; 08/04 16,353.75
20384 08/20) 08/06 149.13
20401* 08/2 7h ccm BADD. cceccrrecamerrn e520 08/12 400.99
20423* 08/21 42.00 20521 08/05 2,145.41
20453* 08/21 380.00 20522 08/19 724.00
20462* 08/22 560.00 20523 08/19 1,155.00
20485* 08/22 80.00 20524 08/22 480.00
20487* 08/07 80.00 20525 08/20 1,435.00
20492* 08/01 1,363.95 20526 08/27 1,000.00
20494* 08/06 500.00 20527 08/26 750.00
20497* 08/01 91.00 20528 08/25 625.00
20500* 08/26 168.00 20530* 08/13 480.00
20501 08/26 220.00 20531 08/21 750.00
20502 08/08 1,875.00 20533* 08/11 1,027.47
20503 08/11 822.00 20534 08/19 750.00
20504 08/08 - 8,689.67 20535 08/13 169.10
20505 08/04 175.00 20536 08/25 1,230.00
20506 08/05 575.95 20537 08/20 23,992.50
20507 08/04 2,237.77 20538 08/12 540.00
20508 08/12 6,000.00 20539 08/15 500.00
20509 08/07 784,80 20540 08/22 1,295.00
20510 08/08 562.50 20541 08/22 540.00
20511 08/05 5,120.24 20542 08/19 1,000.00
20512 08/14 6,673.00 20543 08/21 540.00

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EASTSIDE
COMMERCIAL

I : C “-B Eastside Commercial Bank ACCOUNT NUMBER

BANK 3326 160th Ave. S.E.
1 Suite 101
Gen Con LLC 110 Belewe, WA 98008-6418 malo; 12
420 t rae ofids Bi Suite 100 www.eastsidecommercialbank.com
ea e
Mail Aug 31, 2008
Pg 2 of 3

oe Checks listed in numerical order;

(*) indicates gap in sequence

Check Date Amount Check Date Amount
20544 08/13 540.00 20575* 08/12 19,437.00
20545 08/11 3,560.00 20576 08/22 72.00
20546 08/19 7,477.87 20581* 08/27 1,298.00
20547 08/13 6,676.80 20583* 08/20 924.00
20548 08/12 1,257.25 20584 08/22 344.00
20550* 08/20 660.00 20586* 08/19 196.00
20551 08/11 649.69 20588* 08/21 224.00
20552 08/11 480.00 20590* 08/19 1,006.00
20553 08/12 20,797.70 20591 08/20 554.00
20554 08/08 2,010.00 20592 08/22 188.00
20556* 08/20 750.00 20593 08/22 456.00
20557 08/22 990.00 20594 08/21 294.00
20558 08/11 650.00 20596* 08/28 168.00
20560* 08/19 1,295.00 20598* 08/19 612.00
20562* 08/13 08/25 640.00
20563 08/19 * 08/19 670.50
20564 08/13 08/25 30,000.00
20565 08/22 08/21 35,578.00
20567* 08/14 08/29 83.85
20568 08/12 5 08/28 56.70
20569 08/29 08/28 47.63
20570 08/12 E 08/27 735.00
20571 08/12: i 08/27 4,140.00
20573* 08/12 : A* 08/28 80.00
Other-Deductions—firom-your! account
08/07/2008 Domestic Wire Out BNF: ADF 6,970.88
08/07/2008 Domestic Wire Out 4,273.64
BNF: William J. Creonte Jr.
08/07/2008 Domestic Wire Out 3,260.30
BNF: Adrian Swartont
08/07/2008 Domestic Wire Out 1,626.48
BNF: Megan H. Culver
08/07/2008 Domestic Wire Out 1,476.87
BNF; Jeannette LeGault
08/07/2008 Domestic Wire Out 1,323.63
BNF: Bernice Joanne Fong
08/07/2008 Domestic Wire Out 1,234.68
BNF: Derek Guder
08/07/2008 Domestic Wire Out 1,141.52
BNF: Aleta M. Muller
08/07/2008 Domestic Wire Out 1,059.64
BNF: Tina Ho Ting Leung
08/13/2008 ACH Payment 67.39
ADP PAYROLL FEES ADP - FEES
08/13/2008 ACH Payment 62.00

ADP PAYROLL FEES ADP - FEES

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EASTSIDE
COMMERCIAL
BANK

ECB

Eastside Commercial Bank
3326 160th Ave. S.E.

ACCOUNT NUMBER

Suite 101 a
Gen Con LLC 110 Bellevue, WA 98008-6418 peai2
120 Lakeside Ave Suite 100 vw eastsidecommercialbank.com
Seattle WA 98122
Mail Aug 31, 2008
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08/21/2008 Paperless debit wire fee 20.00
08/21/2008 Paperless debit wire fee 20.00
08/21/2008 Paperless debit wire fee 20.00
08/21/2008 Paperless debit wire fee 20.00
08/21/2008 Paperless debit wire fee 20.00
08/21/2008 Paperless debit wire fee 20.00
08/21/2008 Paperless debit wire fee 20.00
08/21/2008 Paperless debit wire fee 20.00
08/21/2008 Paperless debit wire fee 20.00
08/21/2008 Paperless debit wire fee 20.00
08/21/2008 Domestic Wire Out 7,598.85
BNF — ADP Payroll Account
08/21/2008 Domestic Wire Out 4,297.96
BNF - William J. Cronte Jr.
08/21/2008 Domestic Wire Out 3,260.31
BNF — Adrian Swartout
08/21/2008 Domestic Wire Out 1,626.48
BNF - Megan H. Culver
08/21/2008 Domestic Wire Out 1,476.87
BNF ~- Jeannette LeGault
08/21/2008 Domestic Wire Out . 1,395.06
BNF) —- %
08/21/2008 Domestic i 1,323.63
NF} —
08/21/2008 Domestic i 1,234.67
BNF: — 4
08/21/2008 Domestic ‘ 1,141.53
BNF - A .
08/21/2008 Domes tiic..Waisne..Out petecnaviertatat ee 1,059.64
BNF —- Tina Hoe Ting Leung
08/27/2008 ACH Payment 67.39
ADP PAYROLL FEES ADP - FEES
08/27/2008 ACH Payment 60.67
ADP PAYROLL FEES ADP —- FEES
Daily Ending Balance
08/01 7,895.70 08/12 261,606.98 . 08/22 73,557.77
08/04 139,129.18 08/13 229,461.31 08/25 324,889.17
08/05 131,287.58 08/14 221,643.64 08/26 323,241.17
08/06 119,246.45 08/15 221,143.64 08/27 315,856.11
08/07 96,014.01 08/19 205,267.27 08/28 315,503.78
08/08 75,352.49 08/20 141,735.77 08/29 314,669.93
08/11 67, 486.61 08/21 79,312.77

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09/07/08 - Reconciliation Summary Oe
1113 « Eastside Bank - Money Market, Period Ending 08/31/2008

. Aug 31, 08 -
Beginning Balance 19,653.11
Cleared Transactions .
Deposits and Credits - 1 item 30.63
Total Cleared Transactions 30.63
Cleared Balance , 19,683.74
Register Balance as of 08/31/2008 19,683.74
Ending Balance 19,683.74

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09/07/08 Reconciliation Detail
1113 - Eastside Bank - Money Market, Period Ending 08/31/2008

Type Date Num Name ’ Clr Amount Balance
Beginning Balance 19,653.11.
Cleared Transactions
Deposits and Credits - 1 item . :
Deposit 8/31/2008 / x 30.63 30.63
Total Deposits and Credits 30.63 30.63
Total Cleared Transactions 30.63 30.63
Cleared Balance 30.63 19,683.74
Register Balance as of 08/31/2008 30.63 19,683.74 -
Ending Balance 30.63 19,683.74

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EASTSIDE

EC B COM M E RC IA L Eastside Commercial Bank ACCOUNT NUMBER
BA NK 3326 160th Ave. S.E.
" 0 Suite 101 73627
Gen Con LLC Bellevue, WA 98008-6418
. . 425.373.0400
120 Lakeside Ave Suite 100 www.eastsidecommercialbank.com

Seattle WA 98122

Mail Aug 31, 2008
Pg ‘l of 1

08/01/2008 Beginning Balance Business MMA 19,653.11
1 Deposits and Other Additions + 30.63
0 Checks and Other Deductions - -00
08/31/2008 Ending Balance 31 Days in Statement Period 19,683.74

Deposits and Other additions to your account - ~
08/31/2008 Accr Earning Pymt 30.63
Added to Account .

Daily Ending Balance
08/01 19,653.11 08/31 19,683.74

Earnings Summary
** Below is an itemization of the Earnings
*

were paid this period.
Interest Paid This Period 30.63 Annual Percentage Yield Earned 1.85 %
Interest Paid YTD 415.77 Days in Earnings Period 31
Earnings Balance 19,653.11

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Gen Con LLC

Reconciliation Summary
1107 - Checking, B of A, 2nd Acct, Period Ending 08/31/2008

Beginning Balance
Cleared Transactions
"Checks and Payments - 54 items
Deposits and Credits - 76 items

Total Cleared Transactions

Cleared Balance

Uncleared Transactions
Checks and Payments - 67 items

Total Uncleared Transactions

Register Balance as of 08/31/2008

New Transactions
Checks and Payments - 32 items
Deposits and Credits - 26 items

Total New Transactions

Ending Balance

Aug 31, 08

959,045.07

(10,192,138.26)
9,508,093.19 -

(684,045.07)

275,000.00

(33,598.84)

(33,598.84)

241,401.16

(6,841,871 .29)
5,573,971.40

(267,899.89)

(26,498.73)

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Gen Con LLC

Reconciliation Detail
1107 - Checking, B of A, 2nd Acct, Period Ending 08/31/2008

Type : Date Num Name Cir . - Amount Balance
Beginning Balance 959,045.07
Cleared Transactions

Checks and Payments - 54 items
Transfer 7/25/2008 X (684,045.07) (684,045.07)
Check | . 7/30/2008 Reg0...  Ragistration System X (300.00) (684,345.07)
Check 7/30/2008 RegQ... Registration System X (24.90) (684,369.97)
Transfer 8/1/2008 Xx (702,803.85) (1,387,173.82)
Transfer 8/1/2008 X (250,000.00) (1,637,173.82)
Check 8/1/2008 Merc... Bank of America Cr... x (1,561.50) (1,638,735.32)
Check / 8/1/2008 Merc... Bank of America Cr... X (73.17) (1,638,808.49)
Transfer 8/2/2008 xX - (150,000.00) (1,788,808.49)
Check 8/2/2008 Reg0... Registration System x (89.01) (1,788,897.50)
Check ° 8/2/2008 RegO... Registration System xX (66.00) (1,788,963.50)
Check 8/3/2008 ‘RegO... Registration System X (319.90) (1,789,283.40)
Transfer 8/4/2008 x (302,037.34) (2,091 320.74)
Check 8/4/2008 Reg0... Registration System x (271.95) (2,091 ,592.69)
Check 8/4/2008 POS... TASQ POS Xx (32.70) (2,091,625.39)
Transfer 8/5/2008 X (301,699.39) (2,393,324.78)
Check 8/5/2008 Reg0... Registration System X (136.00) (2,393,460.78)
Check 8/5/2008 RegO... Registration System x / (8.00) (2,393,468.78)
Transfer * 8/6/2008 x (301,563,39) (2,695,032.17)
Bill Pmt -Check 8/6/2008 9272.. BankofAmericaCr.. |X (45,000.00) (2,740,032.17)
Check 8/6/2008 Reg0... Registration System x (264.41) | (2,740,296.58)
Transfer 8/7/2008 xX (318,923.98) (3,060,220.56)
Check 8/7/2008 RegO... Registration System X (20.00) (3,060,240.56)
Transfer 8/8/2008 ~ xX (319,895.98) (3,380, 136.54)
Transfer 8/8/2008 X (250,000.00) (3,630,136.54)
Check 8/8/2008 Reg0... Registration System X (20.00) (3,630,156.54)
Check 8/9/2008 Reg0... Registration System x (6.00) (3,630,162.54)
Check 8/9/2008 Reg0... Registration System = X (2:00) (3,630,164,54)
Check 8/10/2008 Runner Gen Con LLC xX (1,000.00) (3,631 ,164.54)
Transfer 8/11/2008 : xX (98,570.22) (3,729,734.76)
Check 8/11/2008 Regd... Registration System X (12.95) (3,729,747.71)
Transfer 8/12/2008 xX. (102,314.07) (3,832,061 .78)
Transfer 8/13/2008 X (102,473.07) (3,934,534.85)
Transfer 8/14/2008 X (195,563.90) (4,130,098,75)
Bill Pmt -Check 8/14/2008 Wire8... LGC Associates, LLC xX (24,605.00) (4,154,703.75)
Transfer 8/15/2008 X (347,009.99) (4,501 713.74)
Check 8/15/2008 X (275.89) (4,501 ,989.63)
Transfer 8/18/2008 Xx (623,771.80) (5, 125,761.43)
Transfer 8/19/2008 X (649,124.82) (5,774,886.25)
Transfer 8/20/2008 X (661,723.32) (6,436,609.57)
Transfer 8/21/2008 X (682,341.93) (7,118,951.50)
Transfer . 8/22/2008 X (682,341,93) (7,801 ,293.43)
Check 8/22/2008 Reg0... Registration System xX (2,800.00) (7,804,093.43)
Transfer 8/23/2008 X (250,000.00) (8,054,093.43)
Transfer 8/25/2008 Xx (429,541.93) (8,483,635,36)
Check 8/25/2008 Reg0... Registration System xX (1,865.00) (8,485,500.36)
Check 8/25/2008 RegO... Registration System - X (75.00) (8,485,575,36)
Transfer 8/26/2008 X (427,676.93) (8,913,282.29)
Check 8/26/2008 Reg0..: Registration System xX (1,810.00) (8,915,062.29)
Check 8/26/2008 Reg0... Registration System Xx (485.40) (8,915,547.69)
Transfer 8/27/2008 xX (425,866:93) (9,341 414.62)
Check 8/27/2008 Reg0... Registration System X (540.00) (9,341 ,954.62)
Check 8/27/2008 Reg0... Registration System xX (140.00) (9,342,094.62)
Transfer 8/28/2008 : X (425,372.02) (9,767,466.64)
Transfer 8/29/2008 xX . (424,671.62) (10,192,138.26)

Total Checks and Payments. (10,192,138.26) (10,192,138.26)

Deposits and Credits - 76 items
Invoice 7/28/2008 Reg... Registration System x 1,258.40 1,258.40
Check 8/1/2008 Merc... Bank of America Cr... X 0.00 1,258.40 ©
Transfer 8/1/2008 Xx 0.00 1,268.40
Transfer 8/1/2008 x 0,00 1,258.40
Transfer 8/1/2008 xX 0.00 1,258.40
Transfer 8/1/2008 X. 0.00 1,258.40
Transfer 8/1/2008 x 0.00 1,258.40
Deposit 8/1/2008 Xx 605.67 © 1,864.07

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Gen Con LLC

Reconciliation Detail .
1107 - Checking, B of A, 2nd Acct, Period Ending 08/31/2008

Type Date Num Name

Transfer 8/1/2008 .
Check 8/2/2008 Reg0... Registration System
Check 8/3/2008 Reg0... Registration System
Check 8/4/2008 Reg0... Registration System
Transfer 8/4/2008 .
Check 8/5/2008 Reg0... Registration System
Transfer 8/6/2008.
Check 8/6/2008 Reg0... Registration System
Check 8/6/2008 Reg0... Registration System
Check 8/6/2008 Reg0... Registration.System
Check 8/6/2008 Reg0... Registration System
Transfer 8/6/2008
Check 8/7/2008 Reg... Registration System _
Check 8/7/2008 Regd... Registration System
Transfer 8/7/2008 : :

~ Check 8/8/2008 Reg0... Registration System
Check 8/8/2008 Reg0... Registration System
Check 8/8/2008 . Regd... Registration System
Check 8/8/2008 Reg0... - Registration System
Transfer 8/8/2008
Check 8/9/2008 Reg0... _ Registration System
Check 8/11/2008 Regd... Registration’ System
Transfer 8/11/2008
Invoice 8/12/2008 Reg0... Registration System
Invoice 8/12/2008 Reg0d... Registration System -
Transfer 8/12/2008
Invoice 8/13/2008 Reg0... Registration System
Invoice 8/13/2008 Reg0... Registration System

’ Transfer 8/13/2008 /
Invoice 8/13/2008 Reg0... Registration System
Invoice 8/14/2008 Reg0... Registration System
Invoice 8/14/2008 Reg0... Registration System
Invoice 8/14/2008 Reg0... Registration System
Transfer 8/14/2008
Invoice 8/14/2008 Reg0... Registration System
Invoice 8/15/2008 Reg0... Registration System .
Invoice 8/15/2008 Reg0... Registration System
Invoice 8/15/2008 Regd... Registration System
Invoice 8/15/2008 Reg0... Registration System
Transfer 8/15/2008 .
Invoice 8/16/2008 Reg0... Registration System
Invoice 8/16/2008 Reg0... Registration System
invoice 8/16/2008 RegQ... Registration System
Invoice 8/16/2008 Reg0... Registration System
Invoice 8/17/2008 Reg0... Registration System
Invoice 8/17/2008 Reg0... Registration System
Invoice 8/17/2008 Reg... Registration System
Invoice 8/17/2008 Reg0... Registration System -
Transfer 8/18/2008 :
Transfer 8/19/2008
Transfer 8/20/2008
Transfer 8/21/2008
Check 8/22/2008 Reg0... Registration System
Transfer 8/22/2008
Check 8/25/2008 Reg0... Registration System
Transfer 8/25/2008
Check 8/26/2008 Reg0... Registration System
Transfer 8/26/2008
Check 8/27/2008 Reg0... Registration System
Transfer 8/27/2008 : .
Check 8/28/2008 Reg0... Registration System
Check 8/28/2008 Autod... Hotelpaac
Check 8/28/2008 Auto0... Hotelpaac
Transfer 8/28/2008
Transfer 8/29/2008 . :
Check 8/31/2008 Reg0... Registration System
Check 8/31/2008 Reg0... Registration System
Check 8/31/2008 Reg0... Registration-System

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Cc Amount Balance

X 702,574.45 704,438.52
x 0.00 704,438.52
Xx. 0.00 704,438.52
xX 0.00 704,438.52
X 702,803.85 1,407,242.37
X 0.00 1,407 ,242.37
X 302,037.34 1,709,279.71
Xx 0.00 1,709,279.71
x 736.00 1,710,015.71
Xx 6,073.24 1,716,088.95
x 18,625.00 1,734,713.95
xX 301,699.39 2,036,413.34
x 0.00 2,036,413.34
xX 706.00 2,037,149.34
Xx 301,563.39 2,338,682.73
x 0.00 2,338,682.73
x 4,000.00 2,339,682.73
xX 2,758.80 2,342,441 .53
Xx 67,185.00 2,409,626.53
x 319,923.98 2,729,550.51
x. 0.00 2,729,550.51
X 0.00 2,729,550.51
X 319,895.98 3,049,446.49
x 159.00 3,049,605.49
Xx 307,82 3,049,913.31
xX 98,570.22 3,148,483.53
x 7,850.09 3,156,333.62 _
x 10,757.23 3,167,090.85
xX 102,314:07 3,269,404.92
Xx 117,695.83 3,387,100.75
xX 7,993.27 3,395,094.02
x 9,912.00 3,405,006.02
xX . 42,082.36 3,417,088,38
x 102,473.07 3,519,561.45
X 139,639.62 3,659,201.07
xX: 6,310.85 3,664,511.92
xX 7,185.51 3,671,697.43
X 13,827.28 3,685,524.71
X 81,675.97 3,767 ,200.68
x 195,563.90 3,962,764.58
x 5,834.77 3,968,599.35
x §,851.77 3,974,451.12
Xx 18,074.38 3,992,525.50
X 70,771.98 4,063,297.48
x 6,206.48 4,069,503.96
Xx 18,005.19 4,087,509.15
xX 22,512.01 4,110,021.16
xX 42,804.70 4,162,825.86
x 347,009.99 4,499,835.85
x 623,771.80 §,123,607.65
x 649,124.82 §,772,732.47
x 661,723:32 6,434,455.79
xX 0.00 6,434,455.79
x 682,341.93 7,116,797.72
x 0.00 7,116,797.72
xX. 682,341.93 7,799,139.65
xX 0.00 7,799,139.65
Xx 429,541.93 8,228,681.58
Xx 0.00 8,228,681.58
x 427,676.93 8,656,358.51
xX _ 0.00 8,656,358.51
xX 0.00 8,656,358.51
X 45.09 8,656,403.60
x 425,866.93 9,082,270.53
x 425,372.02 '9,507,642.55
x 0.00 9,507 ,642.55
x 0.00 9,507,642.55 .
xX - 450.64 9,508,093.19

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Gen Con LLC
Reconciliation Detail

1107 - Checking, B of A, 2nd Acct, Period Ending 08/31/2008

Type Date Num

Name

Total Deposits and Credits
Total Cleared Transactions

Cleared Balance

Uncleared Transactions
Checks and Payments - 67 items

Check 9/24/2004 4437
Check 9/24/2004 4402
Check 9/24/2004 4398
Check 10/8/2004 4506
Check 12/17/2004 - 4841
Check 12/17/2004 4842
Check 1/27/2005 4988
Check 1/28/2005 4999
Check 4/1/2005 5262
Check 7/21/2005 5782
Bill Pmt -Check 7/28/2005 5636
Check , 8/4/2005 5853
Check 9/1/2005 5997
Check 9/1/2005 5992
Check 9/16/2005 6190
Check" 9/29/2005 6278
‘Check 10/4/2005 6058
Check 10/13/2005 6331
Check "10/13/2005 6326
Bill Pmt -Check 10/28/2005 6410
Bill Pmt -Check 10/28/2005 6430
Check 11/1/2005 6476
Check 11/2/2005 6554
Check 11/2/2005 6553
Check 12/8/2005 6703
Check 12/21/2005 6829
Check 12/21/2005 6780
Check 12/21/2005 6844
Check 12/21/2005 6794
Check _ 1126/2006 7004
Check 1/26/2006 6992
Check 8/9/2006 7703
Check 8/31/2006 7822
Check 9/5/2006 7884
Check 11/3/2006 8146
Check 11/20/2006 8253
Check 11/20/2006 8259
Check 11/20/2006 8295
Check 11/20/2006 8297
Check . 12/1/2006 8361
Check 12/21/2006 8409
Bill Pmt -Check 2/1/2007 8521
Bill Pmt -Check 2/12/2007 8583
Check 2/14/2007, 8599
Bill Pmt -Check 4/28/2007 8877
Check 5/11/2007 8953
Check 5/17/2007 9092
Check 5/24/2007 9134
Check | 5/28/2007 9146
Bill Pmt -Check 6/7/2007 9184
Check 6/19/2007 09344
Bill Pmt -Check 6/22/2007 09319
Bill Pmt -Check 6/24/2007 9285
Bill Pmt -Check 6/24/2007 9278
Bill Pmt -Check 7/6/2007 9501
Check 8/15/2007 9780
Check 8/19/2007 11274
Check 9/6/2007 11482
Bilt Pmt -Check 9/19/2007 11596
9/19/2007 11570

Bill Pmt -Check

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Ethan Day-Jones
John P. Smith

Harry Oxford
Alexander, Doug
Ronald Giass

Kris Lehere

Bandai America, Inc
Game Base 7

Knoll, John

Whittier Transfer & ...
Spicer, David

Pan Am Plaza

Gallegos, Randy
Engle, Jason
Mountcastle, Robert ”
Hall, Crystal
QuickBooks Enterpr...
Train Gamers Assoc.
Halleran, Donna
Gibbard, Jaime
Fitch, Ford

Carlson, Kievstin
Loomis, Ryan
Viahovich, Heather
Standard Insurance
Allison, Tavis
Random House, Inc.
Martin, Chad

Rory, Gentry _
Nevada Employme...
Kraus, Robert A.
Philippi, Michael
Rosen, Cheri ~
Houser, Amy
Nextel/Sprint
Hickman, Tracy
Schoeneck, Doug
O'Neal, Robert
Makeever, Michael
King, John

Rogers, Tiffany
Comcast

Kim, Dan

Araucto, Rachel
Talbot, Erica

Fifth World, The
Conard, Steve
Karl,Ed

Koehler, Charles
Comcast

Pronovost, Amy
Kenzer & Co

OC Weekly Media, |...
Kendoo Technology...
Tom Bradshaw
Sinterniklaas -
Guptil, Mike

Stanko, John
Stewart, Glenn

Chris Billings

Filed 10/28/08

Clr Amount Balance
9,508,093.19 '9,508,093.19
(684,045:07) (684,045.07)
(684,045.07) 275,000.00:
(70.00) (70.00)
(70.00) (140.00)
(70.00) (210.00)
(855.00) (1,065.00)
(55.00) (1,120.00)
(65.00) (1,175.00)
(24:00) (1,199.00)
(189.75) (1,388.75)
(2,500.00) (3,888.75)
(3,332.24) (7,220.99)
(100.00) (7,320.99)
(204.27) (7,525.26)
(1,395.90) (8,921.16)
(733.50) (9,654.66)
(95.00) (9,749.66)
(95.00) (9,844.66)
(750.00) (10,594.66).
(540,00) (11,134.66)
(462.30) (11,596.96)
(120.00) (11,716.96)
(4.50) (11,721.46)
(70.00) (11,791.46)
(220.00) (12,011.46)
(70.00) (12,081.46)
(1,820.53) (13,901.99)
(459.00) (14,360.99)
(374.25) (14,735.24)
(135.00) (14,870.24)
(95.00) (14,965.24)
(3,230:78) (18,196.02)
(50.00) (18,246.02)
(30.00) (18,276.02)
(28.00) (18,304.02)
(414.90) (18,718.92)
(319.48) (19,038.40)
(228.00) (19,266.40)
(80.00) (19,346.40)
(75.00) (19,421.40)
(78.00) (18,496.40)
(307.65) (19,804.05)
(148.00) (19,952.05)
(61.21) (20,013.26)
(230.00) (20,243.26)
(199.50) (20,442.76)
(100.00) (20,542.76)
(645.00) (21,187.76)
(590.00) (21,777.76)
(339.00) (22,116.76)
(1,125.00) (23,241.76)
(112.44) (23,354.20)
(3,070.88) (26,425.08)
(1,292.00) (27,717.08)
(2,031.00) (29,748.08)
(71,56) (29,819.64)
(125.00) (29,944.64)
(500.00) (30,444.64)
(73.00) (30,517.64)
(2,187.00) (32,704.64)
(75.00) (32,779.64)

(75.00)

(32,854.64)

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09/30/08

Gen Con LLC

Reconciliation Detail
1107 - Checking, B of A, 2nd Acct, Period Ending 08/31/2008

Type Date Num Name Cir . Amount Balance
Check 10/31/2007 9820 Lighton, Julian (178.50) (33,033.14) .
Check 10/31/2007 9827 Nicoletti, Ryan (162,00) (33,195.14).
Check 41/7/2007 9810 McBrine Marian (66.00) (33,261.14)
Bill Pmt -Check 11/21/2007 9875 Mascher, Andrea (A... (75.00) (33,336.14)
Check 8/28/2008 Reg0... Registration System (140.00) (33,476.14)
Check 8/28/2008 Reg0... Registration System (75.00) (33,551.14)
Check 8/31/2008 _ Reg0... Registration System , (47.70) (33,598.84)
Total Checks and Payments (33,598.84) (33,598.84)
Total Uncleared Transactions . ‘ (33,598.84) (33,598.84)
Register Balance as of 08/31/2008 (717,643.91) 241,401.16
New Transactions :
Checks and Payments - 32 items
Transfer 9/2/2008 * (403,453.15) (403,453.15)
- Check 9/2/2008 Bank... Bank of America M... * (16,683.22) (420,136.37)
Check 9/2/2008 Bank... Bank of America M... * (4,557.48) (424,693.85)
Transfer 9/3/2008 . * (402,354.63) - (827,048.48)
Check 9/3/2008 Reg... Registration System * (260.00) (827,308.48)
Check 9/3/2008 Auto... TASQ POS * (32.70) (827,341.18)
Transfer 9/4/2008 * (402,094.63) (1,229,435.81)
Check 9/4/2008 _ Reg0... Registration System * (3,510.00) (1,232,945.81)
Check 9/4/2008 Reg0... Registration System * (1,260.00) (1,234,205.81)
Check . 9/4/2008 Reg0... Registration System * (65,00) (1,234,270.81)
Transfer 9/5/2008 * (398,442.68) (1,632,713.49)
Transfer 9/8/2008 . * (398,339.73) (2,031 ,053.22)
Check 9/8/2008 Reg0... Registration System * (870.00) (2,031 923.22)
Transfer 9/9/2008 * (396,209.73) (2,428, 132.95)
Check 9/9/2008 Regd... Registration: System * (65.00) (2,428,197,95)
Check 9/9/2008 Reg0... Registration System * (65.00) (2,428,262.95)
Transfer 9/10/2008 . * (395,443.78). (2,823,706.73)
Check 9/10/2008 Regd... Registration System - * (392.95) (2,824,099.68)
Transfer 9/11/2008 * {395,050.83) (3,219,150.51)
Check 9/11/2008 Reg0... Registration System . (2,695.00) (3,221 845.51)
Check 9/11/2008 Reg0... Registration System . (835.00) (3,222,180.51)
Check 9/11/2008 Reg0... Registration System . (335:00) (3,222,515.51)
Transfer 9/12/2008 * (392,290.83) (3,614,806.34)
Transfer 9/15/2008 * (397,585.99). (4,006,392.33)
Transfer 9/16/2008 * (391,250.99) (4,397,643.32)
Transfer 9/17/2008 * (391,250.99) (4,788,894.31)
Check : 9/17/2008 Reg0... Registration System * (65.00) (4,788,959,31)
Transfer 9/18/2008 * (391,185.99) (5,180,145.30)
Transfer 9/19/2008 * (661,185.99) (5,841 334.29)
Check 9/22/2008 Reg0... Registration System ~ * (410.00) (5,841 ,741.29)
Check 9/29/2008 Reg0... Registration System (65.00) (8,841 ,806.29)
Check 9/30/2008 Reg0... Registration System (65.00) {5,841 ,871.29)
Total Checks and Payments (5,841,871:29) (6,841 871.29)
Deposits and Credits - 26 Items
Check 9/2/2008 Bank... Bank of America M... * 0.00 0.00
Deposit 9/2/2008 * 345.83 345.83
Transfer 9/2/2008 . * 424,671.62 425,017.45
Check 9/3/2008 Reg0... Registration System * 0.00 425,017.45
Transfer 9/3/2008 * 403,453.15 828,470.60
Check 9/4/2008 Reg0... Registration System - * 0,00 828,470.60
Transfer 9/4/2008 * 402,354.63 1,230,825.23
Transfer 9/5/2008 * 402,094.63 1,632,919.86
Check 9/8/2008 Reg0... Registration System * 0.00 1,632,919,86
Transfer 9/8/2008 * 398,442:68 2,031 862.54
Check 9/9/2008 Reg0... Registration System * 0.00 2,031 362.54
Transfer 9/9/2008 * 398,339.73 2,429,702.27
Check 9/10/2008 Regd... Registration System * 0.00 2,429,702.27
Transfer . 9/10/2008 * 396,209.73 2,825,912.00
Check 9/11/2008 Regd... Registration System * 0.00 2,825,912.00
Transfer 9/11/2008 * 395,443.78 3,221,355.78
Transfer 9/12/2008 . 395,050.83 3,616,406.61
Transfer 9/15/2008 * 392,290.83 4,008,697.44

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09/30/08

Gen Con’ LLC

Reconciliation Detail .
1107 - Checking, B of A, 2nd Acct, Period Ending 08/31/2008

Type Date Num Name Cir Amount Balance
Transfer 9/16/2008 * 391,585.99 4,400,283.43
Check 9/17/2008 Regd... Registration System * 0.00 4,400,283.43
Transfer 9/17/2008 * 391,250.99 4,791 534.42
- Transfer 9/18/2008 * 391,250.99 5,182,785.41
Transfer 9/19/2008 * 391,185.99 §,573,971.40
Check 9/22/2008 Reg0... Registration System * 0.00 5,573,971.40
Check 9/29/2008 Reg0... Registration System * §,573,971.40
Check 9/30/2008 Reg0... Registration System * §,573,971.40

Total Deposits and Credits : 5,573,971.40 5,573,971.40
Total New Transactions (267,899.89) (267,899.89)
Ending Balance (985,543.80) (26,498.73)

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Bankof America H
Ez ACCOUNT STATEMENT
®
BUSINESS BANKING sf: PAGE 3
PO BOX 94022, SEATTLE WA 98124-9422
CLIENT MANAGER: DEVIN BLANCHARD
IF YOU HAVE QUESTIONS ABOUT YOUR ACCOUNT,
CALL THE BUSINESS BANKING SERVICE CENTER
TOLL FREE AT 1.888, 203.7209.
TTY/TDD USERS MAY CALL 1.800.232.6299.
ACCOUNT NUMBER
GEN CON LLC STATEMENT PERIOD
120 LAKESIDE AVE STE 100 8-01-2008 TO 8-31-2008
SEATTLE WA 98122 Cc iM1 1
As a valued Bank of America customer, Museums on Us® gives you free admission to over 70 museums
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participating museums. To learn more and sign up for monthly email or text reminders visit
www. bankof america. com/artsonus.
CHECKING
CORPORATE CHECKING 17316803
BEGINNING BALANCE 275,000.00
TOTAL CREDITS 9,508 ,091.19
TOTAL MISC DEBITS 9,462, 815.30
TOTAL CHECKS 45,000.00
SERVICE CHARGES/FEES 275.89
ENDING BALANCE 275,000.00
NUMBER OF CREDITS 50
NUMBER OF MISC DEBITS 50
NUMBER OF CHECKS 1
ACTIVITY DETAIL
POSTED ‘TRANSACTION DESCRIPTION/SERIAL NUMBER DEBIT AMOUNT CREDIT AMOUNT REFERENCE #
8-01 SWEEPS DIVIDEND CREDIT 605.67 AISO00360
8-01 SETTLEMENTAMERICAN EXPRESS5460323264 1,258.40 LACHS27438
8-01 TRANSFER FROM INVESTMENT 702,574.45 AIS00074
8-04 TRANSFER FROM INVESTMENT 702,803.85 AIS00074
8-05 TRANSFER FROM INVESTMENT 302,037.34 AISC0073
8-06 TRANSFER FROM INVESTMENT 301,699.35 AIS00072
8-07 TRANSFER FROM INVESTMENT 301,563.39 AIS00071
8-08 TRANSFER FROM INVESTMENT 319,923.98 AIS00072
B-11 SETTLEMENTDISCOVER NETWORKGO1101317000097 736.00 LACHS75274
8-11 SETTLEMENTAMERICAN EXPRESS5460323264 6,779.24 LACH115024
8-17 TRANSFER FROM INVESTMENT 319,895.98 AIS00073
8-12 SETTLEMENTDISCOVER NETWORKGO1 101317000097 998,00 LACH307 127
8-12 SETTLEMENTAMERICAN EXPRESSS460323264 2,758.80 LACH287512
8-12 TRANSFER FROM INVESTMENT 98,570.22 AIS00073
8-13 TRANSFER FROM INVESTMENT 102,314.07 A1IS00074
8-14 TRANSFER FROM INVESTMENT 102,473.07 AISO00075
8-15 TRANSFER FROM INVESTMENT . 185,563.90 AIS00073
8-18 SETTLEMENTAMERICAN EXPRESS5460323264. 307.82 LACH306014
8-18 SETTLEMENTDISCOVER NETWORK601 101317000097 11,408.84 LACH320769
8-18 SETTLEMENTAMERICAN EXPRESSS460323264 19,372.45 LACHO04326
8-18 TRANSFER FROM INVESTMENT 347,009.99 AISO00071
8-19 SETTLEMENTDISCOVER NETWORKGO 1101317000097 616.27 LACHS91823
8-19 SETTLEMENTAMERICAN EXPRESSS460323264 4,357.81 LACHS 72475
8-19 SETTLEMENTDISCOVER NETWORKGO1 101317000097 9,703.08 LACH589743
8-19 SETTLEMENTDISCOVER NETWORK601 101317000097 10,675.86 LACHS90854
8-19 TRANSFER FROM INVESTMENT 623,771.80 AIS00071
CONTINUED

oO Reoyclad Paper

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Bankof America H
Ze. ACCOUNTSTATEMENT
®
PAGE 2 OF 3
GEN CON LLC ACCOUNT NUMBER 803
STATEMENT PERIOD 8-01-2008 TO 8-31-2008
4
ACTIVITY DETAIL CONTINUED ,

POSTED JTRANSACTION DESCRIPTION/SERIAL NUMBER BERIT AMOUNT CREDIT AMOUNT #
8-20 SETTLEMENTDISCOVER NETWORKGO1 101317000097 5,590.21 LACH882963
8-20 SETTLEMENTAMERICAN EXPRESS5460323264 7,008.29 LACH942396
8-20 TRANSFER FROM INVESTMENT 649,124.82 AIS00072
8-21 SETTLEMENTAMERICAN EXPRESS5460323264 20,618.61 LACH226110
8-21 TRANSFER FROM INVESTMENT 661,723.32 AIS00072
8-22 TRANSFER FROM INVESTMENT 682,341.93 AIS00072
8-25 TRANSFER FROM INVESTMENT 682,341.93 ATS00072
8-26 TRANSFER FROM INVESTMENT 429,841.93 AISO00072
8-27 TRANSFER FROM INVESTMENT 427,678.93 AISooo6s
8~28 PAYROLL INTERACTIVE HOTE 1601 45.09 LACH332138
8-28 TRANSFER FROM INVESTMENT 425,866.93 AISOO069
8-29 TRANSFER FROM INVESTMENT 425 ,372.02 AIS60070
8-13 MERCH SETLBANKCARD 430134260041800 60041800 159.00 LACHSS2019
8-14 MERCH SETLBANKCARD . 430134260041800 60041800 117,695.83 LACH320818
8-15 MERCH SETLBANKCARD 430134260041800 60041800 139,639.62 LACH730339
8-18 ‘MERCH SETLBANKCARD 430134260041800 60041800 42,900.70 LACH288071

8-18 MERCH SETLBANKCARD 430134260041800 60041800 71,124.98 LACH756650
8-18 MERCH SETLBANKCARD 430134260041800 60041800 81,675.97 LACHG39192
8-07 MERCH SETLBANKCARD | 430134260045327 60045327 18,625.00 LACH269728
8-11 MERCH SETLBANKCARD -430134260045327 60045327 67,185.00 LACHS53787
8-15 MERCH SETLBANKCARD 430134260045327 60045327. 12,082.36 LACH7305 17
8-18 MERCH SETLBANKCARD 430134260045327 60045327 13,827.28 LACHG39374
8-18 MERCH SETLBANKCARD 430134260045327 60045327 18,069.39 LACH298 153
8-18 MERCH SETLBANKCARD 430134260045327 60045327 18,074.38 LACH7S6835
8-11 CHECK 5100 45,000.00 M 08550814
8-01 TRANSFER TO INVESTMENT 702,803.85 I-GEN19808
8-04 SETTLEMENTBISCOVER NETWORK6O1 101317000097 24.90 LACH930029
8-04 POS EQUIP TASQ POS EQUIP BO0AO01 32.70 LACH453357
8-04 COLLECTIONAMERICAN EXPRESS5460323264 300.00 LACH215418
8-04 WIRE OUT TIME:0745 ET TRN:2008080400044505 150,000.00 “TTFTO44505
8-04 WIRE OUT TIME:0745 ET TRN: 2008080400044506 250,000.00 TTFTO44506
8-04 TRANSFER TO INVESTMENT 302,037.34 I-GEN10808
8-05 SETTLEMENTDISCOVER NETWORKGO110131'7000097 66.00 LACHS27598
8-05 TRANSFER TO INVESTMENT 301,699.39 I-GEN10808
8-06 TRANSFER TO INVESTMENT 301,563.39 I-GEN10808
8-07 TRANSFER TO INVESTMENT 319,923.98 I-GENi0808
8-08 SETTLEMENTDISCOVER NETWORK6O 1101317000097 8.00 LACHS48711
8-08 TRANSFER TO INVESTMENT 319,895.98 I-GEN10808
8-11 CASH WITHDRAWAL UNIVERSITY PLACE 1,000,00 *210101077
8-11 TRANSFER TO INVESTMENT $8,570.22 I-GEN10808
8-41 WERE OUT TIME:0550 ET TRN: 2008081100043778 250,000.00 TTFTO043778
8-12 TRANSFER TO INVESTMENT 102,314.07 I-GEN10808
8-13 TRANSFER TO INVESTMENT 102,473.07 I-GEN10808
8-14 WIRE OUT TIME: 1512 ET TRN:2008081400211205 24,605.00 TTFT211209
8~14 TRANSFER TO INVESTMENT -195,563.90 I-GEN10808
8-15 ACCOUNT ANALYSIS SERVICE CHARGE 275.89 RPM 10808
8-15 TRANSFER TO INVESTMENT 347,009.99 I1-GEN10808
8~18 TRANSFER TO INVESTMENT 623,771.80 I-GEN10808
8-18 TRANSFER TO INVESTMENT 648, 124.82 I-GEN10808
8-20 TRANSFER TO INVESTMENT 661,723.32 I-GEN10808
8-21 TRANSFER TO INVESTMENT 682,341.93 I-GEN10808
8-22 TRANSFER TO INVESTMENT 682,341.93 I-GEN10808
8-25 WIRE OUT TIME:0550 ET TRN:2008082500045152 250,000,00 TTFTO45152
8-25 TRANSFER TO INVESTMENT 429,541.93 I-GEN10808
8-26 TRANSFER TO INVESTMENT 427,676.93 I-GEN10808
8-27 TRANSFER TO INVESTMENT 425,866.93 I-GEN10808
8-28 TRANSFER TO INVESTMENT 425 ,372.02 I-GEN10808
8-29 COLLECTIONAMERICAN EXPRESS5460323264 75,00 LACH4 16255

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GEN CON LLC

Bank of America

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ACCOUNT NUMBER
STATEMENT PERIOD

ACCOUNT STATEMENT .

3 OF

PAGE

SG 803
8-01-2008 TO 8-31-2008

ACTIVITY DETAIL

CONTINUED

POSTED JRANSACTION DESCRIPTION/SERIAL NUMBER DEBIT AMOUNT CREDIT AMOUNT REFERENCE #
8-29 SETTLEMENTDISCOVER NETWORKG01 1013 17000097 485.40 LACH43 1792
8-29 TRANSFER TO INVESTMENT 424,671.62 I-GEN10808
8-01 MERCH FEESBANKCARD 430134260041800 60041800 73.17 LACH172626
8-04 MERCH SETLBANKCARD 430134260041800 60041800 89,01 LACH644230
8-04 MERCH SETLBANKCARD 430134260041800 60041800 319.90 LACH200139
8-05 MERCH SETLBANKCARD 430134260041800 60041800 271,95 LACH3S63840
8-06 MERCH SETLBANKCARD 430134260041800 60041800 136.00 LACH474302
8-07 | MERCH SETLBANKCARD 430134260041800 60041800 264.41 LACH754840
8-08 MERCH SETLBANKCARD 4301342600418600. 60041800 20.00 LACH826826
8-11 MERCH SETLBANKCARD 430134260041800 60041800 6.00 LACH353643
8-141 MERCH SETLBANKCARD 4301342G0041800 60041800 20.00 LACH8 11530
8-12 MERCH SETLBANKCARD 430134260041800 60041800 12.95 LACH401243
8-26 MERCH SETLBANKCARD -430134260041800 60041800 1,865.00 LACH7G6057 1
8-27 MERCH SETLBANKCARD 430134260041800 60041800 1,810.00 LACH822326
8-28 MERCH SETLBANKCARD 430134260041800 60041800 540.00 LACH957719
8-29 MERCH SETLBANKCARD 430134260041800 60041800 140.00 LACH424413
8-01 MERCH FEESBANKCARD 430134260045327 60045327 1,561.50 LACH172876
8-25 MERCH SETLBANKCARD 430134260045327 60045327 2,800.00 LACHS5 1330

SERVICE CHARGES DESCRIBED IN ACCOUNT ANALYSIS

THANK YOU FOR BANKING WITH BANK OF AMERICA
o Recycled Paper

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09/07/08

Gen Con LLC
Reconciliation Summary

1105 - Chase JP Morgan Chase/Bank One, Period Ending 08/31/2008

Aug 34, 08
Beginning Balance 3,974.71
Cleared Transactions
Checks and Payments - 12 items (205,048.99)
Deposits and Credits - 40 items 813,341.72
Total Cleared Transactions 608,292.73
Cleared Balance 612,267.44
. Register Balance as of 08/31/2008 612,267.44
Ending Balance 612,267.44

Page 1

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09/07/08

Type

Date

~ Gen Con LLC

Name

Beginning Balance

Cleared Transactions

Checks and Payments - 12 items

Transfer
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Total Checks and Payments
Deposits and Credits - 40 items

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Total Deposits and Credits

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8/20/2008

Total Cleared Transactions

Cleared Balance

Register Balance as of 08/31/2008

Ending Balance

Reconciliation Detail
1105 : Chase JP Morgan Chase/Bank One, Period Ending 08/31/2008

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PK OK DK DK OK OK OK OK OK OK OK DK DKK _OK OK OOK OK OK DK DK OK DK OK OK OK OK OK OK OE OK OK OKO OK OKO OOO

Amount Balance

3,974.71
(56,107.00) (66,107.00)
(31,472.00) (87,579.00)
(23,942.50) (111,521.50)
(20,445.00) (131,966.50)
(10,000.00) (141,966.50)
(8,140.00) (150,106.50)
(2,500.00) (152,606.50)
(1,387.50) (153,994.00)
(20,355.00) (174,349.00)
(19,045.00) (193,394.00)
(17.49) (193,411.49)
(11,637.50) (205,048.99)
(205,048.99) (205,048.99)
250,000.00 250,000.00
0.00 250,000.00
195.92 260,195.92
488.90 250,684.82
2,591.00 - 253,275.82
9,835.00 263,110.82
24,280:00 287,390.82
51,940.00 339,330.82
236.59 339,567.41
368.69 339,936.10
405.00 340,341.10
690.00 341,031.10
3,508.00 344,539.10
18,960.00 363,499.10
60,745.00 424,244.10
80,000.00 504,244.10
10.80 §04,254.90
187.00 504,441.90
437.68 504,879.58
4,998.00 506,877.58
40,831.00 547,708.58
75,600.00 623,308.58
61.50 623,370.08
374.02 623,744.10
3,545.00 627,289.10
13,540.00 640,829.10
83,640.00 724,469.10
29.18 724,498.28
79.00 724,577.28
112:80 724,690.08
226.08 724,916.16.
270.41 725,186.57
387.40 725,573.97
428.25 726,002.22
465.00 726,467.22
501.50 726,968.72
9,238.00 736,206.72
15,000.00 751,206.72
25,635.00 776,841.72
36,500.00 813,341.72
813,341:72 813,341.72
608,292.73 608,292.73
608,292.73 612,267.44
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=
CHASE wD August 01, 2008 through August 29, 2008

JPMorgan Chase Bank, N.A. ,
Indiana Market Account Number da 5682

P O Box 260180

a a a
Baton Rouge, LA 70826-0180 CUSTOMER SERVICE INFORMATION

WebSite: Chase.com
Wibeabeelasssllasdafostelstlsestbrbillalasblabltidal Service Center: 1-800-242-7338
00000912 DDA 053 141 24308-NNNNNT 1 000000000 60 0000 Hearing Impaired: 1 B88 pop tere
GEN CON LLC ara Espanol. BOe bee
120 LAKESIDE AVE SUITE 100 International Calls: 1-718-262-1679
SEATTLE WA 98122-6548
CHECKING SUMMARY Commercial Checking
INSTANGES AMOUNT
Beginning Balance $3,974.71
Deposits and Additions 28 813,342.22
Other Withdrawals, Fees & Charges 2 ~ 205,049.49
Ending Balance 30 $612,267.44
DEPOSITS AND ADDITIONS
DATE DESCRIPTION — AMOUNT
08/04 Fed Wire Credit Via: Bank of America N.A./026009598 B/O: Gen Con Lle Seattle $250,000.00

WA 98122-6548 Ref: Chase Nyc/Ctr/Bnf=Gen Gon Llc Seattle WA
98 122-/Ac-000000006393 Rfb=21 199117 Obi=Trans From B Ofa
Bbi=/Time/07:45 Imad: 0804B6B7Hu1R001840 Trn: 004040921 7Ft

08/15 gash Sves Cash Dep, Depdate= 08/14/2008, Bag= 0020224837, ULID=, Vitid= 51,940.00
08/15 Cash Svcs Cash Dep, Depdate= 08/1 412008, Bag= 0020224836, ULID= , Vitid= 24,280.00
08/15 gash Sves Cash Dep, Depdate= 08/14/2008, Bag= 0020224839, ULID=, Vitid= 9,835.00
08/15 push Svcs Gash Dep, Depdate= 08/14/2008, Bag= 0020224840, ULID= , Vitid= 2,591.00
08/18 gash Sves Cash Dep, Depdate= 08/15/2008, Bag= 0020224833, ULID=, Vitid= 80,000.00
08/18 gash Svcs Cash Dep, Depdate= 08/16/2008, Bag= 0020224826, ULID= , Vitid= 75,600.00
08/18 gash Svcs Cash Dep, Depdate= 08/15/2008, Bag= 0020224832, ULID=, Vitid= 60,745.00
08/18 gash Svcs Cash Dep, Depdate= 08/16/2008, Bag= 0020224825, ULID= , Vitid= 40,831.00
08/18 sash Svcs Gash Dep, Depdate= 08/15/2008, Bag= 0020224827, ULID= , Vitid= 18,960.00
08/18 Cash Svcs Db/CR Dep Adjust, Org Dep Amt= .00, Depdate= 08/15/2008, ULID= , 3,508.00

Vitid= 905, Reason= Missing Deposit Ticket

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CHASES

August 01, 2008 through August 29, 2008

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Account Number: QMS 6 8 2

DEPOSITS AND ADDITIONS |_©o7ue2)

DATE DESCRIPTION AMOUNT

08/18 Cash Svcs Cash Dep, Depdate= 08/16/2008, Bag= 0020224823, ULID= , Vitid= 1,998.00
905

08/18 Cash Svcs Db/CR Dep Adjust, Org Dep Amt= .00, Depdate= 08/15/2008, ULID= , 439.32
Vitid= 905, Reason= Missing Deposit Ticket

08/18 Cash Svcs Db/CR Dep Adjust, Org Dep Amt= .00, Depdate= 08/75/2008, ULID=, 143.81
Vitid= 905, Reason= Missing Deposit Ticket

08/18 Cash Svcs Db/CR Dep Adjust, Org Dep Amt= 60,745.00, Depdate= 08/15/2008, 10.00

. ULID= , Vitid= 905, Reason= Currency Over

08/19 Cash Sves Cash Dep, Depdate= 08/17/2008, Bag= 0020224816, ULID= , Vitid= 83,640.00
905

08/19 Cash Sves Cash Dep, Depdate= 08/17/2008, Bag= 0020225900, ULID= , Vitid= 36,500.00
905

08/19 Cash Sves Cash Dep, Depdate= 08/18/2008, Bag= 0020224810, ULID= , Vitid= 25,635.00
905

08/19 Gash Svcs Cash Dep, Depdate= 08/18/2008, Bag= 0020224815, ULID= , Vitid= 15,000.00
905

08/19 Cash Sves Cash Dep, Depdate= 08/17/2008, Bag= 0020224818, ULID=, Vitid= 13,540.00
905

08/19 Cash Svcs Db/CR Dep Adjust, Org Dep Amt= .00, Depdate= 08/17/2008, ULID= , 9,238.00
Vitid= 905, Reason= Missing Deposit Ticket

08/19 Cash Sves.Cash Dep, Depdate= 08/17/2008, Bag= 002004819, ULID= , Vitid= 3,545.00
905

08/19 Cash Svcs Db/CR Dep Adjust, Org Dep Amt= .00, Depdate= 08/18/2008, ULID= , 1,650.20
Vitid= 905, Reason= Missing Deposit Ticket

08/19 Cash Svcs Db/CR Dep Adjust, Org Dep Amt= .00, Depdate= 08/18/2008, ULID= , 685.76
Vitid= 905, Reason= Missing Deposit Ticket

08/19 Cash Svcs Db/CR Dep Adjust, Org Dep Ami= 15,000.00, Depdate= 08/18/2008, 100.00
ULID= , Vitid= 905, Reason= Currency Over

08/19 Cash Svcs Db/GR Dep Adjust, Org Dep Amt= 25,635.00, Depdate= 08/18/2008, 89.00
ULID= , Vitid= 905, Reason= Currency Over

08/20 Gash Sves Db/CR Dep Adjust, Org Dep Amt= .00, Depdate= 08/19/2008, ULID= , 2,591.13
Vitid= 905, Reason= Missing Deposit Ticket

08/20 Cash Svcs Db/CR Dep Adjust, Org Dep Amt= .00, Depdate= 08/19/2008, ULID= , 247.00
Vitid= 905, Reason= Missing Deposit Ticket

Total Deposits and Additions oo! Co . $813,342.22

OTHER WITHDRAWALS, FEES & CHARGES

DATE DESCRIPTION ‘ AMOUNT

08/11 Withdrawal $205,032.00

08/15 Account Analysis Settlement Charge 17.49

Total Other Withdrawals, Fees & Charges $205,049.49

Your service charges, fees and earnings credit have been calculated through account analysis.

DAILY ENDING BALANCE

DATE AMOUNT

08/04 $253,974.71

08/11 48,942.71

08/15 137,571.22

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09/07/08

Gen Con LLC

Reconciliation Summary .
1100 - Fundsweep -B of A, Period Ending 08/31/2008 -

Aug 31, 08
Beginning Balance 702,574.45
Cleared Transactions
Checks and Payments - 21 items (8,804,191 .24)
Deposits and Credits - 26 items 8,526,288.41
Total Cleared Transactions (277,902.83)
Cleared Balance 424,671.62
Register Balance as of 08/31/2008 — : "424,671.62
Ending Balance 424,671.62

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12:48 PM Gen Con LLC

09/07/08 Reconciliation Detail
1100 - Fundsweep -B of A, Period Ending 08/31/2008

Type Date Num - Name " Cir Amount Balance
Beginning Balance 702,574.45
Cleared Transactions
Checks and Payments - 21 items ,
Transfer 8/1/2008 X (702,574.45) (702,574.45)
Transfer 8/4/2008 Xx (702,803.85) (1,405,378.30)
Transfer 8/5/2008 x (302,037.34) (1,707,415.64)
Transfer - 8/6/2008 x (301,699.39) (2,009,1 15.03)
Transfer 8/7/2008 X (301,563.39) (2,310,678.42)
Transfer 8/8/2008 X (319,923.98) (2,630,602.40)
Transfer 8/11/2008 Xx (319,895.98) (2,950,498.38)
Transfer 8/12/2008 X (98,570.22) (3,049,068.60)
Transfer 8/13/2008 Xx (102,314.07) (3,181 ,382.67)
Transfer 8/14/2008 xX (102,473.07) (3,253,855.74)
Transfer 8/15/2008 © X (195,563.90) (3,449,419.64)
Transfer 8/18/2008 xX (347,009,99) (3,796,429.63)
Transfer 8/19/2008 xX (623,771.80) (4,420,201 .43)
Transfer 8/20/2008 x (649,124.82) (5,069,326.25)
_ Transfer 8/21/2008 Xx (661,723.32) {5,731 049.57)
Transfer _ 8/22/2008 X (682,341.93) (6,413,391 .50)
Transfer 8/25/2008 xX (682,341.93) (7,095,733.43)
Transfer 8/26/2008 x (429,541.93) (7,525,275.36)
Transfer 8/27/2008 X (427,676.93) (7,952,952.29)
Transfer 8/28/2008 xX (425,866.93) (8,378,819.22)
Transfer 8/29/2008 xX (425,372.62) (8,804,191.24)
Total Checks and Payments : (8,804,191.24) (8,804,191.24)
Deposits and Credits - 26 items
Transfer 8/1/2008 Xx 0.00 0.00
Transfer 8/1/2008 x 0.00 0.00
Transfer . 8/1/2008 x 0:00 0.00
‘Transfer 8/1/2008 X 0.00 0.00
Transfer —~ 8/1/2008 Xx 0.00 0.00
Transfer 8/1/2008 xX 702,803.85 702,803.85
Transfer 8/4/2008 x. 302,037.34 1,004,841.19
‘Transfer 8/5/2008 X 301,699.39 1,306,540.58
Transfer 8/6/2008 xX 307,563.39 1,608,103.97
Transfer 8/7/2008 X 319,923.98 1,928,027.95
Transfer 8/8/2008 xX 319,895.98 2,247 ,923.93
Transfer 8/11/2008 Xx 98,570.22 2,346,494.15
Transfer 8/12/2008 x 102,314.07 2,448,808,22
Transfer 8/13/2008 X_ 102,473.07 2,551 281.29
Transfer 8/44/2008 X 195,563.90 2,746,845.19
Transfer 8/15/2008 X 347,009.99 3,093,855.18
Transfer 8/18/2008 X 623,771.80 3,717,626.98
Transfer 8/19/2008 Xx 649,124.82 4,366,751 .80
Transfer 8/20/2008 x 661,723.32 5,028,475.12
Transfer 8/21/2008 x 682,341.93 5,710,817.05
Transfer 8/22/2008 x 682,341.93 6,393,158.98
Transfer 8/25/2008 xX 429,541.93 6,822,700.91
Transfer -8/26/2008 X 427,676.93 7,250,377.84
Transfer 8/27/2008 X 425,866.93 7,676,244.77
Transfer 8/28/2008 Xx 425,372.02 8,101,616.79
Transfer 8/29/2008 xX 424,671.62 8 526,288.41
Total Deposits and Credits 8,526,288:41 8,526,288.41
Total Cleared Transactions (277,902.83) (277,902.83)
Cleared Balance (277,902.83) 424,671.62
Register Balance as of 08/31/2008 (277,902.83) 424,671.62
Ending Balance . ‘ (277,902.83) 424,671.62

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Bank of Ameri Ca le AUTOMATED OVERNIGHT INVESTMENT ACCOUNT staenent

HP

PERIOD: 08/01/08-08/31/08
ACCOUNT. NUMBER Wiss03
TAX ID. NUMBER XX-XXXXXXX
a eee
GEN CON LLC
120 LAKESIDE AVE STE 100
SEATTLE WA 98122
|
as |
TRANSFER TO .
( -FROM ) INVESTMENT DIVIDEND DIVIDEND INVESTMENT
DATE INVESTMENT BALANCE RATE RATE ACCRUED OPTION
8/01/08 229.40 702,803.85 93244 17.95 Cash Rsvs - Adv-D
8/02/08 702,803.85 93242 17.95 Cash Rsvs - Adv-D
8/03/08 702,803.85 . 93247 17.95 Cash Rsvs - Adv-D
8/04/08 400,766.51- 302,037.34 94262 7.80 Cash Rsvs - Adv-D
8/05/08 . 337.95- 301,699.39 . 9426% .. 7.79 Cash Rsvs - Adv-D
8/06/08 136.00- - 301,563.39 94214 <9 7.78 Cash Rsvs - Adv-D
8/07/08 18,360,59 319,923.98 93134 8.16 Cash Rsvs - Adv-D
8/08/08 28.00- 319,895.98 . 9262% 8.12 Cash Rsvs ~ Adv-D
8/09/08 319,895.98 92624 8.12 Cash Rsvs ~ Adv-D
8/10/08 . 319,895.98 - 9262% 8.12 Cash Rsvs ~ Adv-D
8/11/08 221,325.76- 98,570.22 +9194% 2.48 Cash Rsvs - Adv-D
8/12/08 3,743.85 102,314.07 . 92077 2.58 Cash Rsvs — Adv-D
8/13/08 159.00 1023473 .07 .9190% 2.58 Cash Rsvs - Adv-D
8/14/08 93,090.83 195,563.90 93462 5.01 Cash Rsvs - Adv-D
8/15/08 151,446.09 347,009.99 93634 8.90 Cash Rsvs - Adv-D
8/16/08 347,009.99 93634 8.90 Cash Rsvs - Adv-D
8/17/08 347,009.99 93634 8.90 Cash Rsvs - Adv-D
8/18/08 276,761.81 6235771.80 . 93827 16.03 Cash Rsvs - Adv-D
8/19/08 25 353.02 649,124.82 93227 16.58 Cash Rsvs - Adv-D
8/20/08 12,598.50 6615723 .32 . 93047 16.87 Cash Rsvs - Adv-D
8/21/08 20,618.61 682 5341.93 92892 17.37 Cash Rsvs - Adv-D
8/22/08 682 5341,93 93937 17.56 Cash Rsvs - Adv-D
8/23/08 682 5341.93 93937 17.56 Cash Rsvs = Adv-D
8/24/08 682,341.93 93937 17.56 Cash Rsvs - Adv-D
8/25/08 252,800.00- 429,541.93 94227 11.09 Cash Rsvs - Adv-D
8/26/08 1,865.00- 427 676,93 94307 11.05 Cash Rsvs - Adv-D
8/27/08 15810 .00- 425 866,93 , 93837 10.95 Cash Rsvs ~ Adv-D
8/28/08 494.91- 425,372.02 94164 10.97 Cash Rsvs - Adv-D
8/29/08 700 .40- 424,671.62 95002 11.05 Cash Rsvs - Adv-D
8/30/08 424,671.62 . 95004 11.05 Cash Rsvs - Adv-D
8/31/08 4245671.62 . 95007 11.05 Cash Rsvs ~ Adv-D
MTD TOTAL DIVIDENDS ACCRUED 345,83 AVG. DAILY DIVIDEND RATE . 9354
MID TOTAL DIVIDENDS PAID 605.67 AVG. DATLY INVESTMENT BAL. 434,830.16
YTD TOTAL DIVIDENDS PAID 2,503.80 TARGET BALANCE 275,000.00
ACCRUED DIVIDENDS OF 345.83 WILL BE CREDITED TO DDA ACCOUNT 17316803 ON 09/02/08.

The dividend rate is arrived at by Bank of America deducting a fee of up to 130 basis points from the dividend
rate provided by Columbia Cash Reserves - Adviser D Class Shares,

In order to enable us to serve you more efficiently, please contact our Commercial Service Center at 1-800-325-4296

BY 11 AM ET on days when you anticipate that your investment balance will increase or decrease by

$5,000,000 or more from the prior day.

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2:32 PM Gen Con LLC

10/17/08 | Reconciliation Summary
, 1108 - Bank of America - Bankruptcy, Period Ending 08/31/2008

Aug 31, 08
Beginning Balance (6.77)
Cleared Balance (6.77)
Register Balance as of 08/31/2008 . (6.77)
New Transactions
Deposits and Credits - 2 items 661,192.76
Total New Transactions 661,192.76

Ending Balance 661,185.99

Page 1

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2:32 PM Gen Con LLC

107108 © Reconciliation Detail
1108 - Bank of America - Bankruptcy, Period Ending 08/31/2008

Type Date Num Name Clr Amount . Balance
Beginning Balance . (6.77)
Cleared Balance : . (6.77)
Register Balance as of 08/31/2008 (6.77)

New Transactions : ,
Deposits and Credits - 2 items
Transfer 9/19/2008 661,185.99 661,185.99
Deposit . 9/30/2008 6.77 661,192.76
Total Deposits and Credits 661,192.76 661,192.76
Total New Transactions _ 661,192.76 . 661,192.76
Ending Balance 661,192.76 661,185.99

Page 1

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BankofAmerica

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Ze.
CUSTOMER CONNECTION

BANK OF AMERICA, N.A.
DALLAS, TEXAS 75283-2406

Account Number
O1 61 152 01 M0000 EF
Last Statement;

This Statement:

0051
0

NEW. ACCOUNT
08/29/2008

Customer Service
1-800-342-7722

GEN CON LLC

DEBTOR IN POSSESSION
OPERATING ACCOUNT
120 LAKESIDE AVE, SUITE 130
SEATTLE WA 98122

08-10844
Page

of 2

Bankruptcy Case Number:0810844

Reminder: Beginning in September, the check-cashing fee will increase to $6.

This fee applies only to payees who cash checks drawn on a Bank of America
business account in our banking centers and do NOT maintain a relationship
with Bank of America. The fee price may vary and is new in some states.
Bank of America offers a number of alternatives to avoid check-cashing fees
including a package of banking benefits for your employees direct deposit

of paychecks and more, Please call the number on this stafement to learn
more about the alternatives.

We value your business and are ready to assist you.

ANALYZED CHECKING

Account Summary Information

Statement Period 09/00/0000 = 08/29/2008
Number of Deposits/Credits 0
Number of Checks

Statement pos inn ing Ba yance
0
Number of Other Debits 1

Amount of Deposits/Credits
Amount of Checks

Amount of Other Debits
Statement Ending Balance

Number of Enclosures 0
Service Charge

Withdrawals and Debits

Other Debits

Date Customer

Posted Reference Amount Description

Bank
Reference

08/15 6.77 Account Analysis Fee
ANALYSIS CHARGE JULY BILLING FOR

DETAIL 37555-50051

Daily Balances

08790042182

Date Ledger Balance Collected Balance Date _ Ledger Balance

Collected Balance

00/06
08/15

.O0
6.77-

. 00 08/29
6.77-

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